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              THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                        )
Consumer Financial Protection Bureau,   )
                                        )
                   Plaintiff,           )     Civil Action No. 3:CV-17-00101
                                        )     (Hon. Robert D. Mariani)
      v.                                )
                                        )
Navient Corporation, et al.,            )
                                        )
                   Defendants.          )



        MEMORANDUM OF LAW IN SUPPORT OF
DEFENDANTS’ MOTION TO STRIKE PLAINTIFF’S RESPONSE TO
DEFENDANTS’ STATEMENT OF UNDISPUTED MATERIAL FACTS
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                                  BACKGROUND

      “The purpose of [Local Rule 56.1] is obvious: it enables the court to identify

contested facts expeditiously and prevents factual disputes from becoming

obscured by a lengthy record.” DeGroat v. DeFebo, 87 F. Supp. 3d 706, 716

(M.D. Pa. 2015). On April 22, 2020, the Court issued an Order expressly warning:

“every denial or partial denial . . . shall be accompanied by a specific reference to

the parts of the record that support the statements”; “the party responding to any

statement of material fact is prohibited from adding additional language to its

admission or denial . . . intended to add assertions of fact or argument extraneous

to the party’s admission or denial”; “[a]ny statement of material fact which is

unaccompanied by a reference in the record which supports the statement of fact is

subject to being stricken”; and “any denial or partial denial of a statement of

material fact which fails to comply with the Order shall result in the statement of

material fact being deemed admitted.” Doc. 463.

      In direct contravention of this Court’s Orders, the Local Rules, and the

Federal Rules of Civil Procedure, the CFPB filed a more than 300-page response to

Defendants’ Statement of Undisputed Material Facts replete with unsupported,

argumentative, unresponsive, and prolix denials of facts. Many of those denials

concern facts that, by any reasonable measure, are undisputed. For example, the

CFPB baldly denies, without citing any record evidence, that Navient’s letters were
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sent to borrowers despite Defendants producing the correspondence histories for

millions of borrowers, including the CFPB’s borrower witnesses. Likewise, the

CFPB denies that Navient’s servicing procedures stated in a red box that

“Forbearance should not be considered until all other options have been

exhausted,” on the ground that Defendants submitted four exemplar versions

covering a four-year time period and not every single iteration that was produced

in discovery.

      The Court should strike the offending paragraphs, if not the CFPB’s

response in its entirety. See DeGroat, 87 F. Supp. 3d at 716 (striking plaintiffs’

entire response that did “not comply with Local Rule 56.1” because it was “over

twice as long” as defendants’ statement and “consistently add[ed] facts” that were

irrelevant); Weitzner v. Sanofi Pasteur, Inc., No. 3:11-CV-02198, 2017 WL

3894888, at *12 & n.6 (M.D. Pa. Sept. 6, 2017) (striking all but six paragraphs of

plaintiffs’ response that was “over twice as long” as defendants’ statement and

regularly “attempt[ed] to explain or contextualize a fact presented by the

[d]efendants”), aff’d, 909 F.3d 604 (3d Cir. 2018). In the alternative, because the

CFPB’s response merely “aim[s] to create the appearance of factual disputes,” the

statements it improperly denies should be deemed admitted. See Rau v. Allstate

Fire & Cas. Ins. Co., 793 F. App’x 84, 87 (3d Cir. 2019) (affirming Rau v. Allstate




                                          2
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Fire & Cas. Ins. Co., No. 3:16-CV-0359, 2018 WL 6422121 (M.D. Pa. Dec. 6,

2018) (Mariani, J.); see also Doc. 463 ¶ 5.

                           QUESTION PRESENTED
      Whether the CFPB’s response to Defendants’ Statement of Undisputed

Material Facts In Support of Defendants’ Motion For Summary Judgment

(“PRSUF”) should be struck.

                                  ARGUMENT
      The CFPB’s response attempts to obscure the reality that it lacks admissible

evidence to prove essential elements of its case. On summary judgment, the CFPB

must submit actual proof, not conclusory assertions and speculation. Local Rule

56.1 exists precisely to prohibit what the CFPB has done here. This Court issued

an Order elaborating on that Rule and admonishing that “each party is expected to

act in good faith and admit any material fact which is undisputed and only deny

any material fact which that party in good faith believes is in dispute.” Doc. 452

¶ 4 (emphases added). Denials of facts known to be true, without record cites or

based on speculation, are not appropriate.

      The CFPB’s response flagrantly violates the Court’s instructions.

Defendants have set forth below specific deficiencies in the CFPB’s response,

identifying the paragraphs that are most improper and explaining the reasons why.

Defendants have also attempted to group together similar categories of



                                         3
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deficiencies, though many offending paragraphs fall into multiple categories.

Given the extent of the CFPB’s non-compliance, it is not possible to catalogue

every deficiency in the response.1

I.      THE PARTY OPPOSING SUMMARY JUDGMENT MUST SUBMIT A
        “SHORT AND CONCISE STATEMENT OF THE MATERIAL
        FACTS”2

        The Court ordered the parties to confer regarding the “maximum number of

factual assertions” to be set forth in their respective statements of material facts.

Doc. 452 ¶ 5. Defendants suggested “a limit of no more than 400 factual assertions

per side.” Doc. 463 at 2. Although the CFPB had initially proposed a limit of

1,250 factual assertions, it then offered either a “compromise figure” of 1,000

factual statements, or in the alternative, a combined word limit of 50,000 words for

each side’s brief and statement of material facts. Doc. 461 at 2. The Court ordered

the parties to limit their respective statements of facts to “400 numbered statements

of fact.” Doc. 463 ¶ 1. In accordance with the Court’s order, Defendants filed a

Statement of Undisputed Material Facts (“SUF”), consisting of 376 paragraphs set

forth in 97 pages and 18,733 words. Doc. 471.




1
 Defendants have also provided a list of the specific paragraphs that most
seriously violate the Local Rules and the Court’s Orders in its accompanying
Motion.
2
    M.D. Penn. L.R. 56.1 (emphasis added).

                                           4
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      The CFPB took a distinctly more expansive approach in response. See

PRSUF. Omitting Defendants’ paragraphs, which the CFPB included, the CFPB’s

response totals 305 pages and 69,895 words. Ex. 1 ¶ 2. The response is neither

short nor concise—at three times the length of Defendants’ Statement and almost

20,000 more words than the CFPB had proposed as a combined limit for its

opening brief and statement of facts.

II.   “[E]VERY DENIAL OR PARTIAL DENIAL . . . SHALL BE
      ACCOMPANIED BY A SPECIFIC REFERENCE TO THE PARTS OF
      THE RECORD THAT SUPPORT THE STATEMENTS”3

      The CFPB repeatedly denies Defendants’ statements of fact without citing

any contrary evidence and in situations where the facts could not in good faith be

disputed. Compliance with Local Rule 56.1 requires a responding party to

“provide a citation to the record that supports any such denial.” United States v.

Polshenski, No. 3:16-CV-2515, 2018 WL 806469, at *1 n.1 (M.D. Pa. Feb. 9,

2018) (emphasis added); see also Shuman v. Remtron, Inc., No. 4:09-CV-00003,

2012 WL 315445, at *2 n.6 (M.D. Pa. Feb. 1, 2012) (“[W]here a party purports to

deny or to dispute a fact but does not include a citation to the record that supports

such a denial or dispute, we deem the fact undisputed.”).




3
 Doc. 463 ¶ 3 (alteration and internal quotation marks omitted) (quoting M.D.
Penn. L.R. 56.1).

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      A.     Unsupported Denials Based On Claims That Borrower
             Information Might Exist That Was Not Produced
      The CFPB denies facts and attempts to excuse its lack of support by

claiming that Defendants withheld borrower data that might have provided a basis

for a denial. As an initial matter, the claim that information was withheld by

Defendants is absurd. The discovery process was carefully administered by the

Special Master, and discovery closed without objection from the CFPB. The

breadth and scope of information produced during nearly six years of investigation

and discovery in this case, which includes eleven terabytes of uncompressed

borrower data, may be unprecedented. The CFPB’s manufactured, post-hoc

discovery complaints are well beyond the proper scope of a statement of facts. But

in any event, the CFPB’s assertions are both unsupported and unsupportable.

   • The CFPB asserts, without any citation to the record, that “Navient may
     have data capable of identifying . . . borrowers” who received IDR renewal
     communications at issue in Counts III and IV, but “such data was not
     produced.” PRSUF ¶ 1. Not so. Defendants produced data for all
     borrowers who enrolled in IDR from June 2009 to January 2017, including
     information about all correspondence sent to those borrowers during that
     time period. Ex. 2 at *2.

   • The CFPB claims that “because of deficiencies in Navient’s recordkeeping,
     identification of the universe of borrowers affected by Navient’s deception
     regarding [cosigner release] is impossible.” PRSUF ¶ 262. But again,
     Defendants produced data for borrowers with cosigned private loans,
     including the correspondence histories for those borrowers and data related
     to cosigner release. Ex. 2 at *3.




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       B.     Unsupported Denials That Disclosures Were Sent

              1.     Borrower Contacts
       The CFPB repeatedly denies that Navient’s letters were sent to borrowers

generally, see PRSUF ¶¶ 6–11, and that particular letters or emails were sent to the

CFPB’s identified borrower witnesses, see id. ¶¶ 15–16, 27, 34, 39, 42, 46, 48, 54,

60, 62, 65, 96, 98, 103–04, 107, 122–23, 124, 126, 144–46, 151, 153, 162–65,

169, 176–77, 185, 188, 200.4 The CFPB cites no evidence in support of these

denials, nor could it. Defendants produced the correspondence histories for all

borrowers who enrolled in IDR or forbearance during the requested time period.

Ex. 2 at *2. And as the CFPB knows from its two-day site visit to observe

Defendants’ systems, Ex. 1 ¶ 3, the correspondence data automatically log each

piece of correspondence sent to a borrower, including the code for the letter that

was sent, id. ¶ 3 & Ex. A; Ex. 3 at 59:2–13, 60:23–25, and the template codes are

reflected on the letters.5


4
 The CFPB similarly denies without support that Navient made phone calls to
borrowers. PRSUF ¶¶ 128, 149.
5
  To illustrate, the CFPB denies Defendants’ paragraph 6, arguing that neither the
letters sent to individual borrowers nor the template letters “establish” that the
letters were sent. But the CFPB cites no evidence to suggest that such letters were
not sent. And the evidence in the record is plainly to the contrary. The template
code (e.g. H311) appears on each exhibit cited in support of Defendants’
paragraph 6. SUF Ex. 6 at *1; SUF Ex. 7 at *25; SUF Ex. 8 at *14; SUF Ex. 9 at
NAV-03305437; SUF Ex. 10 at NAV-04066646; SUF Ex. 11 at NAV-02431400;
SUF Ex. 12 at NAV-03860737; SUF Ex. 13 at NAV-01575324. In turn, the


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      The CFPB nevertheless disputes that letters were sent because at one point

the system stored the information necessary to regenerate those communications

rather than copies of the actual communications.6 But the very exhibit the CFPB

cites states that a regeneration “looked like it would have looked when it was

actually sent.” PRSUF Ex. 346 at A-10538:21–25. In other words, the regenerated

communication is an exact duplicate of the original. And even though the CFPB’s

own exhibits establish that Navient started storing copies of sent communications

in 2014, see id. at A-10538:13–25, the CFPB implausibly denies on that same

ground that letters were sent in 2015, 2016, and 2017, PRSUF ¶¶ 65, 98, 126.7

             2.    Renewal Notices

      The CFPB makes similar denials regarding the IDR renewal notices at issue

in Count IV, again claiming that the exhibits do not “show” that documents were

sent to borrowers. See, e.g., PRSUF ¶ 217. These denials are baseless for similar

reasons and belied by the cited exhibits. Specifically:


template code (e.g. H311) appears in the correspondence histories for the CFPB’s
borrower witnesses, see e.g., SUF Ex. 53 at NAV-02967333, and in the data
produced for the remaining borrowers, RSUF Ex. 18 at 10 n.30. To the extent the
CFPB is challenging the authenticity of these records, Defendants have attached a
declaration from the employee responsible for collecting them. See Ex. 4.
6
 See PRSUF ¶¶ 15–16, 27, 34, 39, 42, 46, 48, 54, 60, 65, 98, 107, 122–24, 126,
144–46, 151, 162–65, 169, 176–77, 185, 188, 200.
7
 The CFPB similarly denies the content of Navient’s website by denying its
authenticity. PRSUF ¶ 12. Defendants previously produced a declaration
authenticating its website screenshots. See Ex. 5.

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• The CFPB denies that IDR renewal forms were enclosed with the IDR
  renewal letters. See id. ¶¶ 216, 217, 220–22, 225–26. In support, the CFPB
  cites only Defendants’ exhibits, which easily contradict the CFPB’s denials.
  For example, next to “Enclosures,” the template for the H356 IDR renewal
  letter lists three enclosures, including the “Income-Based Repayment Plan
  Request Form.” SUF Ex. 127. The body of the letter also lists three
  enclosures, including the “Income-Based Repayment Plan Request Form.”
  Id. The as-sent version includes the cover letter and the form. SUF Ex. 128.
  And the correspondence histories show that the “Income-Driven Repayment
  Form” was sent with the H356 IDR renewal letter. SUF Ex. 62 at
  NAV-02966112. The CFPB cites nothing to the contrary.

• The CFPB denies that the cover letters sent to borrowers were dated because
  the templates do not contain a “date field.” See PRSUF ¶¶ 218, 223. The
  CFPB cites no evidence to support its denial, and it elsewhere admits that the
  letters were in fact dated when sent. See id. ¶ 218.

• The CFPB denies that “every [version] Navient has ever sent” of its cover
  letters contained the language in the templates quoted by Defendants or that
  the cited letters were “sent at all time periods.” Id. ¶¶ 218, 222, 223. But the
  evidence submitted shows that the letters at issue did contain the quoted
  language, SUF Exs. 127–29, 132, and the CFPB has cited no evidence to
  show that other versions did not.

• The CFPB denies that the language quoted in Defendants’ paragraphs 219
  and 224 was added to the letters no earlier than December 2011. PRSUF
  ¶¶ 219, 224. The CFPB cites no earlier version of the letter in support of its
  denial; nor could it because the earlier versions of the letter do not contain
  the quoted language. See, e.g., Ex. 6; PRSUF Ex. 351.

• The CFPB also denies that the revised letters were sent to ED for review,
  PRSUF ¶ 229, while at the same time acknowledging that the cited exhibit
  “demonstrates that Navient sent a version of the H356 letter to ED.”




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      C.     Unsupported Denials Based On Assertions That There May Have
             Been Different Written Procedures Or That Procedures Were Not
             Provided To Call Center Representatives

      The CFPB denies various statements about Navient’s servicing procedures,

again speculating that documents might exist that contradict Defendants’ exhibits,

but citing none.

   • The CFPB denies that Navient’s procedures cover “the full period,” or were
     used “for any period” other than the publish date on the documents. PRSUF
     ¶¶ 204–08, 211. In an effort to avoid burdening the Court, Defendants did
     not submit every single version of procedures from multi-year time periods.
     Defendants did, however, submit versions from multiple years to show
     consistency over time, and despite having every iteration from the time
     period in its possession, the CFPB cites no inconsistent procedures.

   • The CFPB also asserts that “Navient has cited no documentary or
     testimonial evidence establishing whether and how Navient representatives
     accessed or interacted with the cited documents.” Id. ¶¶ 204–08, 211; see
     also id. ¶ 212. As the CFPB is aware, call center procedures are accessible
     to representatives on Navient’s internal KnowledgeShare system, RSUF Ex.
     25 at 149:1–11, 149:19–152:25, and Defendants cited testimony regarding
     the use of call monitoring procedures, SUF Ex. 114 at 152:3–153:11,
     159:12–23. The CFPB cites nothing to support its denials that these
     procedures were used.

      D.     Unsupported Denials That Call Center Representatives Did Not
             Check Eligibility Or That Borrowers Were Ineligible For IDR

      The CFPB denies, without support, that representatives checked the

eligibility of its borrower witnesses for IDR during phone calls because servicing

records contain

                                          . See PRSUF ¶¶ 26, 41, 43, 45, 85; see

also id. ¶¶ 44, 53. But the notes are hardly cryptic; they include statements such


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as, “IBR elig checked.” SUF Ex. 53 at NAV-02967333. And the record evidence

shows that when the servicing records state that the representative checked IDR

eligibility, the representative did so. See e.g., PRSUF ¶ 53 (comparing SUF Ex. 55

at NAV-02359395 to call recording at NAV-02359054).8 The CFPB cites no

evidence to the contrary.

         The CFPB also denies that individual borrower witnesses were ineligible for

IDR, claiming that borrowers were eligible based on their income. PRSUF ¶¶ 31–

32, 36–37. But as the CFPB elsewhere admits, IDR eligibility also depends on

loan type, family size, and the program requirements during the relevant time

period. JSUF ¶¶ 16–18; see also 34 C.F.R. §§ 682.209, 682.215, 685.209,

685.221. Without this information, the CFPB’s assertions that borrowers were

eligible for IDR are entirely unsupported.

         E.    Other Unsupported Denials
         Throughout the CFPB’s 300-plus page response are multiple other instances

where the CFPB denies facts without an evidentiary basis:

     • The CFPB denies the content of electronic consent forms, claiming that the
       forms were in use only for private loans. PRSUF ¶ 231. The CFPB
       attempts to create confusion because the documents discuss loan

8
    In support of its denials, the CFPB cites

                       . See, e.g., PRSUF ¶ 26 (citing servicing records for
borrowers GH (PRSUF Ex. 402), CC (PRSUF Ex. 403), and MP (SUF Ex. 64) in
response to a statement about borrower NN). These assertions are irrelevant since
they do not speak to the fact at issue in Defendants’ statement.

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       applications and cosigners, but as the CFPB is aware, FFELP loans were
       originated by private lenders, JSUF ¶ 2, and they could have cosigners, 34
       C.F.R. § 682.200 (“individual who signs a promissory note and agrees to
       repay the loan in the event that the borrower does not”). Defendants
       submitted three versions of the forms to demonstrate consistency over time,
       SUF Ex. 136–38, and the CFPB offers no citation to any consent form with
       differing content. The CFPB likewise denies the consent forms were used
       for ED communications, again citing no contrary evidence. PRSUF ¶ 232–
       33.

    • The CFPB denies, without any citation in support, that cosigner release will
      only be granted if the borrower can meet certain credit underwriting criteria.
      Id. ¶ 258.

    • The CFPB denies that certain calls with borrowers took place on particular
      dates because the “audio file[s] do[] not contain any metadata establishing
      [their] date.” Id. ¶¶ 355, 366. Defendants’ exhibits contain          . See
      SUF Ex. 211 at NAV-05860169; id. Ex. 214 at NAV-06590367. The CFPB
      cites nothing to suggest that the dates are not reliable.

    • The CFPB denies quoted deposition testimony where a borrower testified
                                                                                 .
       PRSUF ¶ 354. The CFPB then quotes additional testimony where the
       borrower

                Id. The very testimony the CFPB quotes supports Defendants’
       statement.9
       F.    Denials Based On Inadmissible Evidence

       A number of the CFPB’s denials rely only on evidence that cannot be

presented in admissible form and are therefore unsupported. See id. ¶ 1

(declaration of undisclosed witness offering improper testimony); id. ¶¶ 260, 262–




9
 The CFPB similarly denies quoted borrower testimony in other responses.
PRSUF ¶ 35, 49, 237, 293–94.

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67 (inadmissible hearsay); id. ¶ 349 (subsequent remedial measures). These

statements should be deemed admitted. See Fed. R. Civ. P. 56(c)(1)–(2); Hairston

v. Lappin, No. 1:11-CV-1379, 2013 WL 5701637, at *4 n.4 (M.D. Pa. Oct. 18,

2013) (deeming fact undisputed where party’s denial is not based on “any . . . form

of admissible evidence”), aff’d sub nom. Hairston v. Dir. Bureau of Prisons, 563 F.

App’x 893 (3d Cir. 2014).

         Further, despite affirmatively representing to the Court and Navient that “the

reports of Dr. Mullin and any opposing expert from Navient are not needed for

resolution of summary judgment,” Doc. 440 at 5, the CFPB now tries to slip Dr.

Mullin’s report into its exhibits in the guise of background, see PRSUF Ex. 391.

Having made this representation, and having avoided Dr. Mullin being deposed,

the CFPB cannot now submit the report as an exhibit. The report, PRSUF Ex. 391,

and the CFPB’s response relying on it, PRSUF ¶ 1, should be struck.

III.     “THE PARTY RESPONDING TO ANY STATEMENT OF
         MATERIAL FACT IS PROHIBITED FROM ADDING ADDITIONAL
         LANGUAGE . . . INTENDED TO ADD ASSERTIONS OF FACT . . .
         EXTRANEOUS TO THE PARTY’S ADMISSION OR DENIAL”10
         Many of the CFPB’s responses are styled as statements “denied in part,” but

are actually admissions coupled with extraneous and unsupported assertions of fact

in violation of the Court’s order. Doc. 463 ¶ 2. The statements should be deemed



10
     Doc. 463 ¶ 2.

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admitted and the extraneous responses struck. See Selective Ins. Co. of Am. v.

Novitsky, No. 3:17-CV-2376, 2019 WL 1009389, at *2–3 (M.D. Pa. Mar. 1, 2019)

(Mariani, J.) (deeming certain factual statements admitted where denials failed to

respond to the actual statements made); Doc. 463 ¶ 2.

     • In response to a direct quote from a single entry in Navient’s records for one
       borrower, the CFPB admits that

                                                                . PRSUF ¶ 89. The
        CFPB then adds nearly two pages of extraneous and unsupported assertions.
        For example, the CFPB claims that, prior to that phone call, the borrower
        had been “steered into forbearance,” and speculates that “after years of
        steering [the borrower], Navient had no option left but to counsel him about
        IBR.” Id. The CFPB cites
                                              , but cites no evidence to support that he
        had been “steered.” Id. The CFPB does not explain how it can tell that a
        phone call met its “steering” criteria from the face of Navient’s servicing
        records. The CFPB makes similar unsupported assertions regarding phone
        calls throughout its responses.11

     • In response to a direct quote from a single letter to one borrower, the CFPB
       admits that the letter includes the quoted language and then adds a nearly
       two-page denial of facts not even asserted in Defendants’ statement. Id.
       ¶ 98. For example, the CFPB “denies the implication that [the borrower]
       requested forbearance of his own accord.” Id. That argumentative and
       unsupported assertion is not responsive to the statement of fact, which
       simply quotes from a letter sent to the borrower.12


11
  See PRSUF ¶¶ 17–24, 37, 39, 44, 69, 71, 77, 79, 81–82, 86–89, 102, 114, 116,
121, 126, 133, 141, 146, 154–57, 160–61, 163–65, 169, 170–72, 174–75, 177,
185–87, 189–90, 192, 195–97, 199, 201.
12
  The CFPB makes similar argumentative and unresponsive assertions regarding
other borrowers. PRSUF ¶¶ 29, 33, 50–51, 73, 75, 105–06, 109–10, 117–20, 127,
129, 132, 140, 148, 173, 180, 182–83, 202, 238, 243–44, 248–49, 282, 287–88,
296, 299, 301–03.

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     • In response to a direct quote from a single borrower complaint, the CFPB
       admits that the complaint contains the quoted language, and then proceeds
       for an additional page with unsupported and argumentative assertions that
       have nothing to do with that borrower’s complaint. Id. ¶ 267.

     • In response to a direct quote from borrower testimony regarding the asserted
       harm she experienced, the CFPB admits that the borrower testified as stated,
       and then proceeds to identify supposed additional “harms,” including an
       unsupported statement “that she paid additional interest” and speculation
       that she will pay “more interest over the life of her loans.” Id. ¶ 285. In
       fact, the borrower states in the cited testimony that she would have been
       harmed “if [she] had paid more interest,” and speculates that she “would
       imagine” that she would have paid more interest. PRSUF Ex. 294 at
       A-8705:13–25 (emphasis added).13
IV.      “THE PARTY RESPONDING TO ANY STATEMENT OF
         MATERIAL FACT IS PROHIBITED FROM ADDING ADDITIONAL
         LANGUAGE . . . INTENDED TO ADD . . . ARGUMENT
         EXTRANEOUS TO THE PARTY’S ADMISSION OR DENIAL”14

         Argument and legal conclusions are inappropriate in response to a statement

of facts. See Gentile v. DES, Properties, Inc., No. 3:08-CV-2330, 2012 WL

2792347, at *4 (M.D. Pa. July 9, 2012) (Mariani, J.) (assigning “any conclusions

of law or inappropriate arguments no evidentiary value”); Perez v. Great Wolf

Lodge of the Poconos LLC, 200 F. Supp. 3d 471, 474 n.1 (M.D. Pa. 2016)

(Mariani, J.) (striking responses as “unresponsive or as improperly containing legal

arguments or conclusions”). Courts in the Middle District of Pennsylvania



13
  In addition, in response to paragraphs stating that various documents were sent
to borrowers, the CFPB unresponsively denies that the borrowers received the
documents. PRSUF ¶¶ 133–35.
14
     Doc. 463 ¶ 2.

                                          15
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routinely strike or disregard such responses. See, e.g., Weitzner, 909 F.3d 604 at

613–14 (affirming district court’s decision to strike portions of plaintiffs’ response

to statement of facts that were “argumentative in violation of Local Rule 56.1”);

Markovich v. Panther Valley Sch. Dist., No. CIV.A. 3:13-3096, 2015 WL

4077758, at *2 n.2 (M.D. Pa. July 6, 2015) (“Plaintiff’s counter statement of

material facts is not proper under L.R. 56.1, M.D.Pa., as they are legal conclusions

to which no response is required.”); Chinniah v. E. Pennsboro Twp., No. 1:CV-08-

1330, 2012 WL 2006749, at *5 (M.D. Pa. Feb. 29, 2012) (disregarding portions of

response to statement of fact that “consist of legal conclusions”), adopted by 2012

WL 2003493 (M.D. Pa. June 5, 2012); Park v. Veasie, No. 3:09-CV-2177, 2011

WL 1831708, at *2 (M.D. Pa. May 11, 2011) (excluding portions of a response

that were “unnecessarily argumentative and improperly included in a short and

concise statement of material facts”). Significant portions of the CFPB’s responses

constitute improper argument and legal conclusions and should be struck. Six

categories of statements are set forth below.

      First, the CFPB repeatedly argues that information that Navient provided to

borrowers was insufficient for them to “make an informed choice,” or that

borrowers did not “make an informed choice.” See PRSUF ¶¶ 28, 44, 48, 52, 79,




                                          16
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87, 107, 108.15 Similarly, the CFPB argues that




                     Id. ¶ 209. The CFPB does not dispute Defendants’ direct

quotations from the record, but instead improperly argues about the conclusion to

be drawn from those facts.

      Second, the CFPB denies that letters were “effectively sent” when the letters

were posted to a borrower’s online account, rather than sent by postal mail. Id.

¶¶ 216–17, 222. The CFPB does not dispute that the cited exhibits cited are copies

of the letters sent by postal mail to borrowers and posted to borrowers’ accounts.

Id. Whether the letter was sent “effectively” is improper argument, not a basis to

deny a fact.16

      Third, the CFPB denies a direct quotation from an ED contract modification

based on a legal argument that the instruction in the contract modification was not

a “new requirement.” Id. ¶ 227 (emphasis in original). Whether a contract

modification represented a new legal requirement plainly constitutes impermissible


15
  The CFPB makes other similar argumentative denials elsewhere. See PRSUF
¶¶ 59, 61, 70, 76, 83, 166.
16
  The CFPB similarly denies whether Navient procedures were “effective.”
PRSUF ¶ 210.

                                         17
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legal argument. The CFPB further relies on this legal argument to deny that

Navient made changes following the contract modification and that ED paid for

them, but cites no factual evidence to support these denials. Id. at ¶¶ 228, 230.

         Fourth, the CFPB argues that the form attached to Navient’s IDR renewal

letter “states nothing about the consequences of inadvertently submitting an

incomplete or incorrect application for recertification.” Id. ¶ 221. Defendants’

statement of fact quotes directly from the form. Whether the quoted statements

sufficiently convey “the consequences” of not submitting the required paperwork

is the subject of legal argument, not an appropriate basis for responding to a

statement of fact.

         Fifth, the CFPB denies various facts regarding borrower complaints, which

Defendants’ statements quote directly, and makes arguments about the conclusions

to be drawn from the complaints, including conclusions that are unquestionably

legal:

     • The CFPB asserts that a borrower “complaint involved Navient’s false or
       misleading representations” and was evidence that the borrower “was
       deceived.” Id. ¶ 265 (emphases added).17

     • The CFPB asserts that “Navient’s recounting . . . strongly suggests that
       Navient misinformed the borrower,” and claims its view is the “most
       reasonable interpretation” of the exhibit. Id. ¶ 266 (emphases added).



17
  The CFPB also improperly argues that various statements by Pioneer were
“false” or “misleading.” PRSUF ¶¶ 349–50, 356.

                                          18
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     • The CFPB denies that a borrower, who testified that “no late fees were
       assessed” on his account, suffered “no financial consequences” because the
       time he spent “can be assigned a monetary value.” Id. ¶ 305 (emphasis
       added).

        Sixth, the CFPB claims that use of a certain credit reporting field “creates a

false impression.” Id. ¶ 314 (emphasis added). That is plainly legal argument.18

In addition, the CFPB responds with arguments regarding Navient’s “past

reporting practices,” id., that are not responsive to Defendants’ statement of fact

setting forth the meaning of a particular credit reporting code based on credit

reporting guidance. SUF ¶ 314. The CFPB’s argumentative responses are

improper.

                                   CONCLUSION

        The CFPB’s response to Defendant’s Statement of Undisputed Facts should

be struck in whole or in part. The statements corresponding to the struck responses

should be deemed admitted.




18
  The CFPB makes similarly improper arguments in response to other citations to
credit reporting guidance. PRSUF ¶¶ 313, 315, 318.

                                           19
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Dated: August 18, 2020            Respectfully submitted,


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                    CERTIFICATE OF WORD COUNT


     I hereby certify in accordance with Local Rule 7.8(b)(2) that the foregoing

document is 4,940 words.

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                         CERTIFICATE OF SERVICE


      I hereby certify that on August 18, 2020, I filed the foregoing document with

the Clerk of Court using the CM/ECF system, which will send notification of such

filing to all counsel of record who are deemed to have consented to electronic

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